Filed

Filed

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 1 of 10 PagelD #: 5

20-Cl-006548 = 11/11/2020

David L. Nicholson, Jefferson Circuit Clerk

COMMONWEALTH OF KENTUCKY
JEFFERSON CIRCUIT COURT

DIVISION __
CIVIL ACTION NO.:
Electronically Filed
DONN PENDERGRASS, JR. ‘PLAINTIFF
Vv.
DOMINIQUE PITTS
SERVE VIA CERTIFIED MAIL: RESTRICTED
2124 Crossfield Drive
Elizabethtown, Kentucky 42701
CHARTER COMMUNICATIONS, LLC;
SERVE VIA CERTIFIED MAIL: RESTRICTED
421 WEST MAIN STREET
FRANKFORT, KY 40601
CHARTER COMMUNICATIONS, INC.
SERVE VIA CERTIFIED MAIL: RESTRICTED
421 WEST MAIN STREET
FRANKFORT, KY 40601
SPECTRUM ADVANCED SERVICES, LLC
SERVE VIA CERTIFIED MAIL: RESTRICTED
421 WEST MAIN STREET
FRANKFORT, KY 40601
DEFENDANTS

 

COMPLAINT

 

Comes now the Plaintiff, Donn Pendergrass, Jr., by counsel; and for his Complaint

against the Defendants, states as follows:

20-C1-006548 =. 11/11/2020

David L. Nicholson, Jefferson Circuit Clerk

Package:000003 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000003 of 000009
Filed

| is 421 West Main Street, Frankfort, Kentucky 40601. Spectrum Advanced Services,

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 2 of 10 PagelD #: 6

20-Cl-006548 11/11/2020 - David L. Nicholson, Jefferson Circuit Clerk

PARTIES
1. Plaintiff, Donn Pendergrass, Jr., (hereafter referred to.as “Plaintiff’) is an

adult resident citizen of Rutherford County, Murfreesboro, Tennessee, and was operating
a motor vehicle in Jefferson County, Kentucky, at the time of the incident made the basis
of this suit.

2. Upon information and belief, Defendant, Dominque Pitts, is a resident. of
Hardin County, Kentucky, and was the driver of a vehicle that collided with Plaintiffs
vehicle on. or about |

3: At all times relevant hereto, the Defendant, Charter Communications, LLC
is a foreign limited liability corporation licensed to conduct business in the Commonwealth
of Kentucky. The address for the service of process on this Defendant is 421 West Main
Street, Frankfort, Kentucky 40601. Charter Communications, LLC’s principal office is
located at 12405 Powerscourt Drive, St. Louis, Missouri 63131.

4. - At all times relevant hereto, the Defendant Charter CamenURIeatIONS, Inc.
is a foreign corporation licensed to sonduat business in the Commonwealth of Kentucky.
The address for the service of process on this Defendant is 421 West Main Street,
Frankfort, Kentucky 40601 7 Charter Communications, Inc.’s principal office is located at
12405 Powerscourt Drive St. Louis, Missouri 63131.

5. At all times relevant hereto, the Defendant, Spectrum Advanced Services,
LLC, is a foreign limited liability corporation licensed to conduct business in the

Commonwealth of Kentucky. The address for the service of process on. this Defendant

‘,

LLC’s principal office is located at 12405 Powerscourt Drive St. Louis, Missouri 63131.

Filed .

20-Cl-006548 11/11/2020 ; a David L. Nicholson, Jefferson Circuit Clerk

Package:000004 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000004 of 000009
Filed

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 3 of 10 PagelD #: 7

20-Cl-006548 11/11/2020 David L. Nicholson, Jefferson Circuit Clerk

6. Defendants, Charter Communications, LLC, Charter Communications, Inc.,

and Spectrum Advanced Services, LLC, are hereafter collectively referred to as the

- “Charter Defendants.”

Filed

7. At all times relevant Rareto, the Charter Defendants were the owners of the
vehicle Defendant Pitts was driving at the time of the collision (referred to as the “Charter
Vehicle’).

FACTS

8. Plaintiff adopts and incorporates by reference each of the previous
paragraphs as if fully set forth herein. |

9. On or about January 25, 2019, Defendant Pitts was driving the Charter
Vehicle on !-265 East in Louisville, Kentucky.

10. Atthe same time, Plaintiff was driving a vente on |-265 East.

-11. Due to Defendant Pitts’ inattention, Defendant Pitts slammed the Charter
Vehicle into the rear of the vehicle Plaintiff was driving.

12. Atall times relevant hereto, Defendant Pitts was employed by the Charter

Defendants.

13. Atal times relevant hereto, Defendant Pitts was driving in the scope of his

employment with the Charter Defendants.

14. Atall times relevant hereto, the Charter Defendants owned, controlled, and

maintained the Charter Vehicle driven by Defendant Pitts.

20-Cl-006548 17/11/2020 3 David L. Nicholson, Jefferson Circuit Clerk

Package:000005 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000005 of 000009
_ Filed

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 4 of 10 PagelD #: 8

20-Cl-006548 =11/11/2020 David L. Nicholson, Jefferson Circuit Clerk

COUNT |
COMMON LAW NEGLIGENCE AND GROSS NEGLIGENCE

15. Plaintiff adopts and incorporates by reference each of the previous
paragraphs as if fully set forth herein. |

16. Atthe time of the collision, Defendant Pitts owed the duty to Plaintiff to drive
in a careful manner with regard to the safety and convenience of other motorists, such as
Plaintiff.

17. Plaintiff avers that Defendant Pitts, acting as agent, servant, or employee
of the Charter Defendants, breached this duty by negligently, carelessly, and recklessly
operating the Charter Vehicle, causing it to collide with Plaintiffs vehicle, leading to
serious injuries to Plaintiff.

18. At the time of the collision, Defendant Pitts was driving in an unlawful,
reckless, and dangerous manner.

19. Asa direct and proximate result of Defendant Pitt's negligent and grossly

negligent actions,. Plaintiff has suffered significant physical injuries and damages,

including, but not limited to, medical expenses, bodily injury, pain and suffering, mental

anguish, and, lost wages, all in an amount exceeding the jurisdictional minimum of this

» Court.

Filed

20. © The Charter Defendants are liable for the negligence of Defendant Pitts

_ pursuant to the doctrine of respondeat superior because Defendant Pitts was acting within

the scope of his agency and/or employment at all relevant times hereto.

4

20-Cl-006548 11/11/2020 David L. Nicholson, Jefferson Circuit Cierk

Package:000006 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000006 of 000009
Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 5 of 10 PagelD #: 9

Filed '  20-C1-006548 11/11/2020 David L. Nicholson, Jefferson Circuit Clerk

COUNT II

STATUTORY NEGLIGENCE

 

21. Plaintiff adopts and incorporates by referehce each of the previous
paragraphs as if fully set forth herein. |
22. Defendants’ actions constitute violations of various sections and
subsections of the Kentucky Revised Statutes; including, but not limited to KRS
189.290(1) and constitute negligence per se pursuant to KRS 446.070 and Kentucky case

law.

23. The injuries sustained by Plaintiffs are of the type which these statutes seek

to prevent and that such injuries were proximately caused by Defendants’ violation of
these statutes. :
24. As a direct and proximate result of Defendants violations of Kentucky law,
Plaintiffs sustained the injuries and damages itemized in COUNT 1.
WHEREFORE, Plaintiff, Denn Pendergrass, Jr., demands judgment against
Defendants, as follows:
A. A trial by jury on all issues of fact herein;
B. Gonperisanty and euniive damages against the Defendants in a fair and
| reasonable amount to be determined by a jury sitting at the trial of this matter, but in an
amount sufficient to confer jurisdiction on this Court; |
C. For prejudgment interest from the date of the Plaintiff's injuries until such time
the judgment is paid; | | |
D. For Plaintiffs costs herein expended; and |

Ee. For any and all other relief to which Plaintiff is entitled.

\

5

Filed ; 20-Cl-006548 © 11/4 412020 David L. Nicholson, Jefferson Circuit Clerk

Package:000007 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000007 of 000009
Filed

Filed!

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 6 of 10 PagelD #: 10

20-C1-006548 11/11/2020 , David L. Nicholson, Jefferson Circuit Clerk

CERTIFICATION

This is to certify that pursuant to KRS 411.188(2), the undersigned attorneys have
notified by certified mail all of those parties believed to possibly hold subrogation rights to any
award received by the Plaintiff as a result of this action and that the failure to assert
subrogation rights by intervention, pursuant to Kentucky Civil Rule 24, or otherwise will result
‘in a loss of those rights with respect to any final award received by the Plaintiff as a result of
this action.

Pursuant to KRS 411.188(4) the parties notified pursuant to KRS 411.188(2) are as
follows:

Sedgwick Claims Management Services

8125 Sedgwick Way

Memphis, Tennessee 38125

York Risk

P.O. Box 619079

Roseville, California

Also Via Fax to the Attention of Arlette Williams at 866-548-3627

Blue Cross Blue Shield of Illinois

300 East Randolph

Chicago, Illinois 60601

RESPECTFULLY submitted this the 11!" day of November 2020.
- /s/ Jonathan B. Fannin

Jonathan B..-Fannin
Attorney for Plaintiff

 

OF COUNSEL:

HARE, WYNN, NEWELL & NEWTON, LLP
Jonathan B.-Fannin, Esquire
325 West Main Street, Suite 210

‘ Lexington, Kentucky 40507

6

20-Cl-006548 = =11/11/20206 David L. Nicholson, Jefferson Circuit Clerk

Package:000008 of 000609

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000008 of 000009
Filed

Filed

Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 7 of 10 PagelD #: 11

20-Cl-006548 11/11/2020 David L. Nicholson, Jefferson Circuit Clerk

PLAINTIFF DEMANDS TRIAL BY STRUCK JURY ON ALL ISSUES

7

20-Cl-006548 11/17/2020 David L. Nicholson, Jefferson Circuit Clerk

Package:000009 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297)

Package : 000009 of 000009
Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 8 of 10 PagelD #: 12

David L. Nicholson, Jefferson Circuit Clerk
600 West Jefferson Street
Louisville, KY 40202-4731

SPECTRUM ADVANCED SERVICES, LLC
421 WEST MAIN STREET
FRANKFORT, KY 40601

KCOJ eFiling Cover Sheet

 

Case Number: 20-Cl-006548 ~
Envelope Number: 2931861 '
Package Retrieval Number: 293186120254237@00000960639

Service by: Certified Mail
Service Fee: $0.00
- Postage Fee: $12.50

The attached documents were generated via the Kentucky Court of Justice eFiling system. For more
information on eFiling, go to http://courts.ky.gov/efiling.

Page 1 of 1 Generated: 11/13/2020 11:46:55 AM

Presiding Judge: HON, CHARLES L. CUNNINGHAM (630297)

Package:000001 of 000009

Package : 000001 of 000009
~-~---Gase-3:20-ev-00824-BB- -Document 1-4 Filed 12/09/20—Page-9-of 10-Pagelb-#-43--—..-—..- -—

: 4% US. POSTAGE }>PTHEY Bowes

 
  

  

ae

ace

ia nee

 
Case 3:20-cv-00824-BB Document 1-1 Filed 12/09/20 Page 10 of 10 PagelD #: 14

 

AOC-E-105 Sum Code: Cl

Rev. 9-14 Case # 20-Cl-006548

Commonwealth of Kentucky Od Court: CIRCUIT
Court of Justice Courts.ky.gov i County: JEFFERSON Circuit
CR 4.02; Cr Official Form 1 _ CIVIL SUMMONS >

 

 

 

 

Plantiff, PENDERGRASS, DONN VS. PITTS, DOMINIQUE ET AL, Defendant

TO: SPECTRUM ADVANCED SERVICES, LLC
421 WEST MAIN STREET |
FRANKFORT, KY 40601

The Commonwealth of Kentucky to Defendant:

You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney

on your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(s) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the
document delivered to you with this: Summons.

aL Jee Ris helbu—

Jefferson Circuit Clerk
Date: 11/11/2020

 

Proof of Service
This Summons was:

(J Served by delivering a true copy and the Complaint (or other initiating document)

To:

 

CJ Not Served because:

 

 

Date: , 20
Served By

 

Title

 

 

 

Summons ID: 293186120254237@00000960639
CIRCUIT: 20-C]-006548 Certified Mail

PENDERGRASS, DONN VS. PITTS, DOMINIQUE ET AL ; | e ’
MTNA TM Page to | eF lie d

Package:000002 of 000009

Presiding Judge: HON. CHARLES L. CUNNINGHAM (630297) -

Package : 000002 of 000009
